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FILED
IN THE UNITED STATES DISTRICT COURT FER 2
FOR THE WESTERN DISTRICT OF VIRGINIA, G 2029
. ROANOKE DIVISION JULIA Aon ey 6

CLT ee
FEBRUARY 2020 SESSION

UNITED STATES OF AMERICA )  CaseNo: “120 ck 21
)
v. ) INDICTMENT
)
Ce )
TRENA THORNE ) Violation:
)
) 18 U.S.C. § 1708
)
The Grand Jury charges that:
COUNT ONE

l. Beginning on or about August 1, 2018, the defendant, TRENA THORNE, was
employed as a Highway Contract Route Driver for the Osmo Enterprise, where she transported
mail between the Pulaski Post Office and the Austinville, Ivanhoe, and Max Meadows Post
Offices on behalf of the United States Postal Service. |

2. Onor about October 25, 2019, in the Western Judicial District of Virginia, the
defendant, TRENA THORNE, took from a post office, authorized depository for mail matter, or
mail route, two separate Wal-Mart gift cards from inside two separate pieces of mail, with the
intent to steal or otherwise deprive the intended recipients of the rights and benefits of
ownership.

3. All in violation of Title 18, United States Code, Section 1708.

COUNT TWO
4, On or about December 5, 2019, in the Western Judicial District of Virginia, the

defendant, TRENA THORNE, took from a post office, authorized depository for mail matter, or
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mail route, cash and/or gift cards from inside three separate pieces of mail and separately
discarded one piece of mail, with the intent to steal or otherwise deprive the intended recipients |
of the rights and benefits of ownership.
5. All in violation of Title 18, United States Code, Section 1708.
NOTICE OF FORFEITURE
1. Upon conviction of one or more of the felony offenses alleged in this Indictment,
the defendant shall forfeit to the United States:
a. any property, real or personal, which constitutes or is derived from
proceeds traceable to said offenses, pursuant to 18 U.S.C. § 981(a)(1)(C)
and 28 U.S.C, § 2461.
2. The property to be forfeited to the United States includes but is not limited to the
following property:
a. Each of the items identified in Counts 1 and 2.
3. If any of the above-described forfeitable property, as a result of any act or omission
of the defendant:
cannot be located upon the exercise of due diligence;
has been transferred or sold to, or deposited with a third person;
has been placed beyond the jurisdiction of the Court;
has been substantially diminished in value; or

has been commingled with other property which cannot be
subdivided without difficulty;

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it is the intent of the United States to seek forfeiture of any other property of the defendant up to
the value of the above-described forfeitable property, pursuant to 21 U.S.C. § 853(p).

A TRUE BILL this _2© day of February, 2020.

FOREPERSON

 

@LTHOMAS T. CULLEN
UNITED STATES|ATTORNEY

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